    Case 4:22-cv-01132-KGB-JJV              Document 139     Filed 03/27/25         Page 1 of 3




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF ARKANSAS
                                    CENTRAL DIVISION



 Gregory Holt, ADC # 129616                           CASE NO. 4:22-CV-01132-KGB-JJV
 a/k/a Abdul Maalik Muhammad,

            Plaintiff,

            v.


 Dexter Payne, et al.,

                              Defendants.


                            JOINT STIPULATION REQUESTING
                          EXTENSION OF DISCOVERY DEADLINES
       Pursuant to Federal Rule of Civil Procedure 16(b)(4) and Local Rule 6.2, Plaintiff

Gregory Holt and Defendants Dexter Payne et al. hereby submit the following stipulated request

for an order extending the case schedule to permit additional time for discovery:

       WHEREAS, on March 10, 2025, the Court entered its order (ECF No. 133) adopting, in

part, and declining to adopt, in part, Judge Volpe’s August 30 report and recommendation, and

ruled that Plaintiff may proceed with all five claims in his Second Amended Complaint (ECF

No. 68);

       WHEREAS, Defendants’ answer to Plaintiff’s second amended complaint is due by

March 31, 2025 (ECF No. 137);

       WHEREAS, on March 11, 2025, Judge Volpe issued a Scheduling Order (ECF No. 134)

setting dispositive motions on the issue of exhaustion to be due by April 11, 2025; discovery due

by May 16, 2025; and dispositive motions due by June 20, 2025;

       WHEREAS, the Parties have conferred and agree that this case will require more than

two months of discovery; and




                                                1
    Case 4:22-cv-01132-KGB-JJV           Document 139         Filed 03/27/25      Page 2 of 3



       WHEREAS, the Parties have agreed to participate in a settlement conference before

Judge Volpe on May 8, 2025;

       WHEREAS, the Parties believe that resolution through mediation before Judge Volpe is

possible and that launching full-scale discovery in the month before the settlement conference

would unnecessarily waste resources;

       NOW THEREFORE, the Parties hereby stipulate and agree that, subject to the approval

of the Court, the case schedule may be modified as follows:


                                                                       Parties’ Requested
             Event                     Current Deadline                Modified Deadline

 Dispositive motions on the      April 11, 2025                   July 11, 2025
 issue of exhaustion

 Close of discovery              May 16, 2026                     August 15, 2025

 Dispositive motions             June 20, 2025                    September 19, 2025


Dated: March 27, 2025                       By: /s/ Carolyn M. Homer

                                            CAROLYN HOMER (admitted in E.D. Ark.)
                                            ADITYA V. KAMDAR (pro hac vice)
                                            MORRISON & FOERSTER LLP
                                            2100 L St., NW, Suite 900
                                            Washington, D.C. 20037
                                            Telephone: (202) 887-1500
                                            Facsimile: (202) 637-2201
                                            Email: cmhomer@mofo.com

                                            JOHN C. WILLIAMS (Ark Bar No. 2013233)
                                            ACLU of Arkansas
                                            904 W. 2nd St.
                                            Little Rock, AR 72201
                                            Telephone: (501) 374-2842
                                            Email: john@acluarkansas.org

                                            Attorneys for Plaintiff




                                                 2
Case 4:22-cv-01132-KGB-JJV   Document 139     Filed 03/27/25    Page 3 of 3




                               By: /s/ Carl F. “Trey” Cooper, III

                               Carl F. “Trey” Cooper, III
                               Ark Bar No. 2007294
                               Senior Assistant Attorney General
                               Arkansas Attorney General's Office
                               323 Center Street, Suite 200
                               Little Rock, AR 72201
                               Phone: (501) 682-3658
                               Fax: (501) 682-2591
                               Email: trey.cooper@arkansasag.gov

                               Attorney for Defendants




                                 3
